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         In the United States Court of Federal Claims
                                       No. 15-384
                                 (E-Filed: May 1, 2015)

                             NOT FOR PUBLICATION

                                         )
GLOBAL DYNAMICS, LLC,                    )
                                         )
                    Plaintiff,           )
                                         )
v.                                       )            Bid Protest Dismissed as Moot
                                         )
THE UNITED STATES,                       )
                                         )
                    Defendant.           )
                                         )

Craig A. Holman, Washington, D.C., for plaintiff.

Joseph E. Ashman, Trial Attorney, with whom were Donald E. Klinner, Assistant
Director, Robert E. Kirschman, Jr., Director, and Brian C. Mizer, Principal Deputy
Assistant Attorney General, Commercial Litigation Branch, Civil Division, United States
Department of Justice, Washington, D.C., for defendant.

                                         ORDER

CAMPBELL-SMITH, Chief Judge

       Presently before the court is defendant’s unopposed motion to dismiss the above-
captioned case as moot. Def.’s Unopp. Mot. to Dismiss (Def.’s Mot.), Apr. 30, 2015,
ECF No. 11.

       This bid protest was brought by plaintiff Global Dynamics, LLC (Global), as a
challenge to the decision by the United States Army Medical Command (MEDCOM) to
re-open the solicitation under which Global was the apparent awardee, and to request
revised pricing from offerors. See Compl., Apr. 16, 2015, ECF No. 1; see also Def.’s
Mot., App. A1 (excerpt from Amendment No. 9 to the solicitation, issued April 7, 2015,
requesting submission of revised price proposals).
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        Since the filing of Global’s complaint, MEDCOM has decided to cancel its re-
opening of the competition and to maintain Global’s status as the apparent awardee under
the solicitation. Def.’s Mot. 3; see also App. A2 (Amendment No. 10 to the solicitation,
issued April 20, 2015, cancelling Amendment No. 9 in its entirety and directing the
contracting officer to disregard any revised price proposals submitted). As the re-
solicitation that was the subject of Global’s complaint has been retracted, defendant has
moved to dismiss the instant case as moot, with no objection from plaintiff.

      Based on the foregoing, defendant’s unopposed motion to dismiss this case as
moot is GRANTED, and plaintiff’s complaint is DISMISSED in its entirety. No costs.


      IT IS SO ORDERED.



                                                s/ Patricia Campbell-Smith
                                                PATRICIA CAMPBELL-SMITH
                                                Chief Judge




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